            Case 2:18-cv-01504-CRE Document 1 Filed 11/08/18 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 DALBERT DELLAPENA,                                   CIVIL ACTION

        Plaintiff,                                    No.:

 v.

 JEROME STRAYHAM and AH GARDNER
 & SONS INC.,

        Defendants.


                                    NOTICE OF REMOVAL

       AND NOW, come the Defendants, Jerome Strayham and A. H. Gardner & Son, Inc.,

(incorrectly identified as AH Gardner & Sons Inc.) by and through their counsel, Pion, Nerone,

Girman, Winslow & Smith, P.C., and John T. Pion, Esquire, and Todd R. Brown, Esquire, to

remove the above-captioned lawsuit pursuant to 28 U.S.C. § 1441, et seq. from the Court of

Common Pleas of Allegheny County, Pennsylvania (Civil Division Docket No. GD-18-014266),

to the United States District Court for the Western District of Pennsylvania, and in support thereof,

aver as follows:

       1.      Plaintiff initiated this lawsuit in the Court of Common Pleas of Allegheny County

County, Pennsylvania (Civil Division Docket No. GD-18-014266) (Copies of the docket and all

pleadings and process filed in the state court action are attached hereto as Exhibit “A”).

       2.      The Complaint names as Defendants, Jerome Strayham and AH Gardner & Sons

Inc., and alleges that on November 11, 2016, Defendants’ negligence caused a motor vehicle

accident that resulted in personal injuries to Plaintiff for which he seeks damages, including, but

not limited to, right rotator cuff syndrome, medial meniscus tear of the right knee, and right lumbar

injury (Complaint ¶ 12).
               Case 2:18-cv-01504-CRE Document 1 Filed 11/08/18 Page 2 of 4



          3.      Per the Complaint, Plaintiff alleges that as a result of his injuries, he suffered great

pain, suffering, inconvenience, embarrassment, mental anguish, and emotional and psychological

trauma (Complaint ¶ 13(a)).

          4.      Per the Complaint, Plaintiff alleges that as a result of his injuries, he suffered “lost

earnings, and decedent’s [sic] earning capacity has been permanently impaired (Complaint ¶

13(b)).

          5.      Per the Complaint, Plaintiff alleges that as a result of his injuries, he suffered the

inability to enjoy certain pleasures of life that were previously enjoyed (Complaint ¶ 13(c)).

          6.      Per the Complaint, Plaintiff alleges that as a result of his injuries, he suffered

permanent loss and impairment of general health, strength, and vitality (Complaint ¶ 13(d)).

          7.      Per the Complaint, Plaintiff is a resident of McKeesport, Pennsylvania (Complaint

¶ 1).

          8.      Per the Complaint, Defendant Jerome Strayham is a resident of Baltimore,

Maryland (Complaint ¶ 2).

          9.      Per the Complaint, Defendant AH Gardner & Sons Inc., is a Maryland corporation

with a principal place of business in Baltimore, Maryland (Complaint ¶ 3).

          10.     The above-captioned action, pending in the Court of Common Pleas of Allegheny

County, Pennsylvania is within the jurisdiction of the United States District Court for the Western

District of Pennsylvania.

          11.     The United States District Court for the Western District of Pennsylvania has

original jurisdiction over this action pursuant to 28 U.S.C. § 1332 inasmuch as the matter in

controversy exceeds the sum of $75,000.00, exclusive of interest and costs, and is between citizens

of different states.




                                                     2
          Case 2:18-cv-01504-CRE Document 1 Filed 11/08/18 Page 3 of 4



       12.      This action is removable from the Court of Common Pleas of Allegheny County

pursuant to the provisions of 28 U.S.C. § 1441, et seq.

       13.      Concurrent with the filing of this Notice of Removal, Defendants have filed a

Notice of Filing of Notice of Removal with the Allegheny County Prothonotary, advising that they

have removed this action to the United States District Court for the Western District of

Pennsylvania

       14.      In filing this Notice of Removal, Defendants Jerome Strayham and A. H. Gardner

& Son, Inc. do not waive any affirmative defenses they may assert in this action.

       WHEREFORE, Defendants, Jerome Strayham and A. H. Gardner & Son, Inc., pray that

this Honorable Court remove the above-captioned case from the Court of Common Pleas of

Allegheny County, Pennsylvania to the United States District Court for the Western District of

Pennsylvania.

JURY TRIAL DEMANDED.



                                             PION, NERONE, GIRMAN,
                                             WINSLOW & SMITH, P.C.

                                             By:    /s/ Todd R. Brown, Esquire
                                                      TODD R. BROWN, ESQUIRE
                                                      Attorney I.D. No. 87345
                                                      Attorneys for Defendants,
                                                      Jerome Strayham and A. H. Gardner & Son,
                                                      Inc




                                                3
          Case 2:18-cv-01504-CRE Document 1 Filed 11/08/18 Page 4 of 4




                                CERTIFICATE OF SERVICE


       I, Todd R. Brown, Esquire, hereby certify that a true and correct copy of the foregoing

NOTICE OF REMOVAL was served upon counsel of record via CM-ECF electronic mailing and

first-class, U.S. Mail, this 8th day of November, 2018, as follows:



                                G. Christopher Apessos, Esquire
                                    FRIDAY & COX, LLC
                                    1405 McFarland Road
                                     Pittsburgh, PA 15216
                                   capessos@fridaylaw.com

                                     Attorneys for Plaintiff




                                             PION, NERONE, GIRMAN,
                                             WINSLOW & SMITH, P.C.


                                             By:      /s/ Todd R. Brown, Esquire
                                                     TODD R. BROWN, ESQUIRE
                                                     Attorney I.D. No. 87345

                                                     Attorneys for Defendants,
                                                     Jerome Strayham and A. H. Gardner & Son,
                                                     Inc




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